        Case1:13-cv-00881-RJL
       Case  1:13-cv-00881-RJL Document
                                Document106-1
                                         112 Filed
                                              Filed02/11/16
                                                    09/08/15 Page
                                                              Page12ofof39
                                                                         40



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

LARRY KLAYMAN,
2020 Pennsylvania Ave. NW, Suite 345
Washington, DC 20006

and

CHARLES STRANGE,
Philadelphia, Pennsylvania
                                                      Civil Action No.: 13-cv-881-RJL
and

MARY ANN STRANGE,
Philadelphia, Pennsylvania

and

MICHAEL FERRARI,                                           THIRD AMENDED
Santa Clara, California                                      COMPLAINT

and

MATT GARRISON,
Long Beach, California

and

JEFFREY JAMES (“J.J.”) LITTLE,
Marina del Rey, California

by and on behalf of himself

and

J.J. LITTLE & ASSOCIATES, P.C.,
Marina del Rey, California

                  Plaintiffs,
v.

BARACK HUSSEIN OBAMA II, individually
and in his professional capacity,
1600 Pennsylvania Ave. NW
Washington, DC 20500



                                        1
        Case1:13-cv-00881-RJL
       Case  1:13-cv-00881-RJL Document
                                Document106-1
                                         112 Filed
                                              Filed02/11/16
                                                    09/08/15 Page
                                                              Page23ofof39
                                                                         40




and

ERIC HIMPTON HOLDER, JR., individually
and in his professional capacity as U.S. Attorney General,
555 Fourth St. NW
Washington, DC 20530

and

KEITH B. ALEXANDER, individually
and in his professional capacity,
Director of the National Security Agency,
9800 Savage Rd.
Fort Meade, MD 20755

and

ROGER VINSON, individually and
in his professional capacity,
Judge, U.S. Foreign Intelligence Surveillance Court
950 Pennsylvania Ave. NW
Washington, DC 20530

and

JAMES CLAPPER, individually
and in his professional capacity,
Director of National Intelligence,
Washington, DC 20511

and

JOHN O. BRENNAN, individually
and in his professional capacity,
Director of the Central Intelligence Agency,
Central Intelligence Agency
Washington, DC 20505

and

JAMES COMEY, individually,
and in his professional capacity
Director Of The Federal Bureau Of Investigation
Federal Bureau Of Investigation
935 Pennsylvania Avenue, NW



                                                2
         Case1:13-cv-00881-RJL
        Case  1:13-cv-00881-RJL Document
                                 Document106-1
                                          112 Filed
                                               Filed02/11/16
                                                     09/08/15 Page
                                                               Page34ofof39
                                                                          40



Washington, DC 20535

and

NATIONAL SECURITY AGENCY,
9800 Savage Rd.
Fort Meade, MD 20755

and

THE U.S. DEPARTMENT OF JUSTICE,
950 Pennsylvania Ave. NW
Washington, DC 20530

and

FEDERAL BUREAU OF INVESTIGATION
935 Pennsylvania Avenue, NW
Washington, DC 20535

and

CENTRAL INTELLIGENCE AGENCY
Washington, DC 20505

                    Defendants.

                                THIRD AMENDED COMPLAINT

        Plaintiffs, Larry Klayman, Charles and Mary Ann Strange, Michael Ferrari, Matthew

Garrison, J.J. Little, and J.J. Little & Associates, P.C., (collectively “Plaintiffs”) bring this action

on their own behalf and hereby sue Barack Hussein Obama II, Eric Holder, Keith B. Alexander,

Roger Vinson, James Clapper, John O. Brennan, James Comey, the Federal Bureau of

Investigation (“FBI”), the Central Intelligence Agency (“CIA”), the U.S. Department of Justice

(“DOJ”), and the National Security Agency (“NSA”), (collectively “Defendants”), in their

personal and official capacities, for violating Plaintiffs’ constitutional rights as a result of the

below pled illegal unconstitutional acts. Plaintiffs allege as follows:




                                                   3
      Case1:13-cv-00881-RJL
     Case  1:13-cv-00881-RJL Document
                              Document106-1
                                       112 Filed
                                            Filed02/11/16
                                                  09/08/15 Page
                                                            Page45ofof39
                                                                       40



                                     INTRODUCTION

1.   This is an action for monetary, declaratory, equitable, and injunctive relief as a result of

     the U.S. Government’s illegal and unconstitutional use of electronic surveillance

     programs in violation of the First, Fourth, and Fifth Amendments of the U.S.

     Constitution. In addition, this lawsuit challenges the Defendants' expansive acquisition of

     Plaintiffs’ telephone metadata, Internet metadata and social media records under Section

     215 of the Patriot Act, 50 U.S.C. § 1860 and the legality of a secret and illegal scheme to

     intercept and analyze vast quantities of communications from telephone, Internet and

     electronic service providers.

2.   The NSA’s classified surveillance program, referred to as “PRISM,” is an internal

     government computer system, authorized by Section 702 of the Foreign Intelligence

     Surveillance Act ("FISA") (50 U.S.C. § 1881a), and is used to manage domestic and

     foreign intelligence collected from the Internet and other electronic service providers.

     Government officials have indicated this program has been in place for seven years and

     that it collects records of all communications companies including Google, Yahoo!,

     Facebook, PalTalk, YouTube, Skype, AOL, and Apple, Verizon Business Network

     Services and Verizon Wireless (“Verizon”), AT&T, and Sprint.

3.   Defendants have admitted that they are collecting metadata about every phone call made

     or received by residents and/or citizens of the United States, and these records provide

     intricate details, including the identity of the individual who was spoken to, the length of

     time of the conversation, and where the conversation took place. Moreover, it gives the

     Defendants a comprehensive record of an individual’s associations, speech, and public




                                               4
      Case1:13-cv-00881-RJL
     Case  1:13-cv-00881-RJL Document
                              Document106-1
                                       112 Filed
                                            Filed02/11/16
                                                  09/08/15 Page
                                                            Page56ofof39
                                                                       40



     movements while revealing personal details about an individual’s familial, political,

     professional, religious, and intimate associations.

4.   For example, recently Defendants ordered access to Verizon’s electronic copies of the

     following tangible things: all call detail records or "telephony metadata" created by

     Verizon for communications (i) between the United States and abroad; or (ii) wholly

     within the United States, including local telephone calls. Such telephony metadata

     includes comprehensive communications routing information, including but not limited

     to session identifying information (e.g. originating and terminating telephone number,

     International Mobile Subscriber Identity (IMSI) number, International Mobile station

     Equipment Identity (IMEI) number, etc.) trunk identifier, telephone calling card numbers,

     and time and duration of call.

5.   On June 5, 2013, The Guardian published an article, based on whistleblower Edward

     Snowden’s revelations, all of which have never been controverted, entitled, "NSA

     collecting phone records of millions of Verizon customers daily. Exclusive: Top secret

     court order requiring Verizon to hand over all call data shows scale of domestic

     surveillance under Obama." The Defendants, on the orders and authorization of the

     President, the Attorney General, the DOJ and the NSA, obtained a top secret court order

     ("Verizon Order") that directs Verizon to turn over the telephone records of over one

     hundred million Americans to the NSA on an ongoing daily basis. Based on knowledge

     and belief, this Verizon Order is the broadest surveillance order to ever have been issued;

     it requires no level of reasonable suspicion or probable cause and incredibly applies to all

     Verizon subscribers and users anywhere in the United States and overseas.




                                               5
      Case1:13-cv-00881-RJL
     Case  1:13-cv-00881-RJL Document
                              Document106-1
                                       112 Filed
                                            Filed02/11/16
                                                  09/08/15 Page
                                                            Page67ofof39
                                                                       40



6.   Prior to this disclosure and revelation, Plaintiffs had no notice and no reasonable

     opportunity to discover the existence of the surveillance program or the violation of the

     laws alleged herein.

7.   Additionally, the NSA, CIA, and the FBI siphoned personal data from the main computer

     servers of major U.S. Internet firms, including Microsoft (Hotmail, etc.), Google,

     Yahoo!, Facebook, PalTalk, YouTube, Skype, AOL, and Apple. The information the

     NSA receives in the surveillance and collection of stored communications include, e-

     mails, chat (video/voice), videos, photos, stored data, VoIP, file transfers, video

     conferencing, notification of target activity (i.e. logins, etc.), online social networking

     details, and other special requests.

8.   It has become known that through a government program entitled "MUSCULAR," the

     FBI, CIA, and NSA have been intercepting information of the entirety of American

     citizenry from Internet companies such as Google and Yahoo! as it travels over fiber

     optic cables from one data center to another.

9.   Such broad and intrusive collections and surveillance tactics, without regard to any

     showing of probable cause, much less a reasonable suspicion of communications with

     terrorists or the commission of another crime, directly violate the U.S. Constitution and

     also federal laws, including, but not limited to, the outrageous breach of privacy, freedom

     of speech, freedom of association and the due process rights of American citizens.

     Plaintiffs are suing for damages, declaratory, equitable, and injunctive relief to stop this

     illegal conduct and hold Defendants, individually and collectively, responsible for their

     unconstitutional surveillance, which has violated the law and damaged the fundamental

     freedoms and rights of American citizens.




                                                6
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page78ofof39
                                                                        40



10.   While the Government Defendants represented that the bulk collection of Internet

      metadata pursuant to Section 215 was discontinued in 2011, this representation was false.

      The Government Defendants simply played a shell-game where they shifted the

      unconstitutional acts from Section 215 over to their continuing PRISM program under

      Section 702. This was revealed by Defendant James Clapper’s admissions to Senator Ron

      Wyden. See Exhibits  and, incorporated herein by reference.

                                        THE PARTIES

11.   Plaintiff Larry Klayman is an individual and an international attorney who is a subscriber

      and user of Verizon Wireless, Vonage, Apple, Microsoft, YouTube, Yahoo, Google,

      Facebook, Twitter, AT&T, and Skype at all material times. Klayman routinely

      communicates with members of the public as well as journalists and associates by

      telephonic communications and electronic messages through Facebook, Google, Apple,

      and Skype. Klayman’s communications, particularly as an attorney, are sensitive and

      often privileged. Plaintiff Klayman resided in the District of Columbia (“D.C.”) for over

      twenty years and continues to conduct business in Washington, D.C. as the Chairman and

      General Counsel of Freedom Watch and otherwise. Plaintiff Larry Klayman is a public

      advocate and has filed lawsuits against President Obama and has been highly critical of

      the Obama administration as a whole. Defendants have accessed the records pertaining to

      Plaintiff Klayman.

12.   Plaintiff Klayman frequents and routinely telephones and e-mails individuals and high-

      ranking government officials in Israel, a high-conflict area where the threat of terrorism is

      always present. U.S. and Israeli intelligence agencies are constantly monitoring the

      telecommunications in Israel in order to prevent any future attacks by terrorists.




                                                7
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page89ofof39
                                                                        40



13.   While in Israel, most recently in 2009, 2010, and 2012, Klayman met with the Press

      Secretary for Prime Minister Benjamin Netanyahu, Mr. Mark Regev, as well as Daniel B.

      Shapiro, who is now the U.S. Ambassador to the United States to the State of Israel.

      Plaintiff Klayman also communicates with Mr. Regev internationally via telephone and

      e-mail. In 2012 Plaintiff Klayman was in Jerusalem and Tel Aviv during the war with

      Hamas and experienced rocket attacks while he was in Tel Aviv.

14.   Plaintiff Klayman also met with Ron Nachman who was mayor of the city of Ariel, Israel

      until his death in 2013. Plaintiff Klayman remained in telephone and e-mail

      communication with Mr. Nachman and his aides after his visit to Israel. Importantly,

      Ariel is located in Judea, which Palestinians and other Arabs falsely call “Occupied

      Territory.” Judea is a breeding ground for terrorists.

15.   Plaintiff Klayman has also telephoned and e-mailed Danny Danon, a member of Israel's

      Knesset (legislative body), who is currently serving as the Deputy Minister of Defense in

      the Cabinet of Prime Minister Benjamin Netanyahu.

16.   In addition, Plaintiff has been in telephone and e-mail contact with Aaron Klein in Israel,

      an investigative reporter who hosts a radio show on WABC in New York, which

      originates in Israel. In fact, Klayman was recently interviewed by Aaron Klein regarding

      the NSA, during which time the radio show experienced what the host called "a tech

      meltdown." Specifically, software used by the radio station "dropped" Plaintiff Klayman

      from the phone line and listeners who had called in to ask Klayman questions were cut

      out in mid-sentence. It is clear that the NSA was attempting to harass him, Aaron Klein,

      and anyone connected to this show, many of whom had been critical of the Defendants,

      including President Obama.




                                                8
       Case1:13-cv-00881-RJL
      Case   1:13-cv-00881-RJL Document
                                Document106-1
                                         112 Filed
                                              Filed 02/11/16
                                                    09/08/15 Page
                                                             Page 910ofof3940



17.   Plaintiff Klayman also telephoned and e-mailed individuals within Spain in preparation

      for his visit to Spain in July of 2012 where he met with prominent human rights lawyers

      to discuss bringing an action against the Islamic Republic of Iran and its officials for

      violations of human rights. Plaintiff continued communication with those he met in

      Spain following his visit. Prior to this, Plaintiff Klayman telephoned and e-mailed

      individuals in India in preparation for his trip to India in 2007, where he served process

      on the Prime Minister of India. Similarly, in May of 2012, Plaintiff Klayman traveled to

      the headquarters of the Organization of the Petroleum Exporting Countries ("OPEC")

      located in Vienna, Austria in order to personally serve it with process and has made calls

      to Austria in this regard. Among OPEC’s members is the Islamic Republic of Iran, and

      other Islamic states, which further, harbor and/or have close ties to terrorism. In fact, the

      oil revenues of OPEC help fund terrorism and terrorists bent on destroying the United

      States, its ally Israel, and other western and European interests. Plaintiff Klayman also

      routinely sends and receives e-mails and telephone communications to and from Italy,

      France, Great Britain, Morocco, Germany, Belgium and other European Union nations

      which have very large Muslim populations and where terrorist cells are located and thus

      where terrorist attacks have been perpetrated resulting in numerous deaths and maimed

      persons.

18.   In light of Plaintiff Klayman's foreign contacts and communications, including frequent

      telephone calls and e-mail correspondence domestically and internationally, Defendants

      would have inevitably been monitoring Plaintiff Klayman in the ordinary course of their

      surveillance. In fact, given Plaintiff Klayman's contacts in the regions he has traveled to,




                                                9
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page10
                                                                  11ofof39
                                                                         40



      Plaintiff Klayman was undoubtedly targeted by Defendants and his domestic and foreign

      communications gathered and surveilled.

19.   Plaintiffs Charles Strange and Mary Ann Strange are individuals and the parents of

      Michael Strange, a Navy cryptologist assigned to SEAL Team VI who was killed when

      the helicopter he was in was attacked and shot down by terrorist Taliban jihadists in

      Afghanistan on August 6, 2011. Plaintiffs Charles and Mary Ann Strange are consumers,

      subscribers, and users of Verizon Wireless, Google/Gmail, Yahoo, Facebook, AOL, and

      YouTube. Plaintiff Charles Strange is a subscriber of Verizon Wireless. Plaintiff Mary

      Ann Strange is also a subscriber of Verizon Wireless. On information and belief,

      Defendants have accessed Plaintiff Stranges’ records particularly since these Plaintiffs

      have been vocal about their criticism of President Obama as commander-in-chief, his

      administration, and the U.S. military regarding the circumstances surrounding the shoot

      down of their son’s helicopter in Afghanistan, which resulted in the death of his son and

      other Navy SEAL Team VI members and special operation forces. Plaintiffs Charles

      Strange and Mary Ann Strange have substantial connections with Washington, D.C., as

      they hold press conferences in Washington, D.C. and lobby in Washington, D.C. as

      advocates for Michael Strange and to obtain justice for him, as well as to change the

      policies and orders of President Obama and the U.S. military’s acts and practices, which

      contributed to Michael Strange’s death. Plaintiffs Charles and Mary Ann Strange also

      make telephone calls and send and receive e-mails to and from foreign countries and have

      received threatening e-mails and texts from overseas, in particular Afghanistan.

20.   Plaintiff Ferrari is an individual who is a subscriber, consumer, and user of Sprint,

      Google/Gmail, Yahoo!, and Apple. As a prominent private investigator, Ferrari regularly




                                               10
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page11
                                                                  12ofof39
                                                                         40



      communicates, both telephonically and electronically, with associates and other members

      of the public, regarding various matters including work-related discussions. Additionally,

      Ferrari’s e-mails contain private details, discussions, and communications. Similarly,

      Ferrari’s Apple products contain confidential documents and information. Plaintiff

      Ferrari also makes and receives telephone calls and sends and receives e-mails to and

      from foreign countries.

21.   Plaintiff Garrison is an individual who is a consumer and user of Facebook, Google,

      YouTube, and Microsoft products. Plaintiff Garrison is required to use his computer,

      which contains Microsoft programming, for personal matters as well as work related

      matters, as a prominent private investigator. Plaintiff stores various documents and

      records on his computer, which are private records. Plaintiff Garrison also makes and

      receives telephone calls and sends and receives e-mails to and from foreign countries.

22.   Plaintiff J.J. Little is in individual and a criminal defense lawyer and a member of the

      California and Ohio Bars. He has litigated and continues to litigate against the

      Government on behalf of his clients. He is therefore in the line of fire of Government

      surveillance by the Government Defendants. This implicates breaches of attorney-client

      privilege and work product. At all material times, Plaintiff Little, for himself and by and

      through his law firm, J.J. Little & Associates, has been and continues to be a subscriber

      of Verizon Business Network Services for his firm J.J. Little & Associates, P.C. At all

      material times, both J.J. Little and J.J. Little & Associates are subscribers of Verizon

      Business Network Services and Verizon Wireless. Plaintiffs Little and J.J. Little &

      Associates, P.C. also use and subscribe to the Internet and social media, as set forth

      herein.




                                               11
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page12
                                                                  13ofof39
                                                                         40



23.   Each and every Plaintiff uses and subscribes to the enumerated telephonic, Internet and

      social media communications providers and uses these services both domestically and

      internationally.

24.   Defendant Barack Hussein Obama ("Obama") is the President of the United States and

      currently resides in Washington, D.C.

25.   Defendant Eric Holder ("Holder") is the Attorney General of the United States and

      conducts his duties as the Attorney General in Washington, D.C.

26.   Defendant Keith B. Alexander ("Alexander") is the Director of the National Security

      Agency. He is also the commander of the U.S. Cyber Command, where he is responsible

      for planning, coordinating, and conducting operations of computer networks. He is also at

      the command for U.S. National Security Information system protection responsibilities.

      He conducts his duties for the National Security Agency in Washington, D.C.

27.   Defendant Roger Vinson ("Vinson") is a judge to the U.S. Foreign Intelligence

      Surveillance Court.

28.   Defendant James Clapper (“Clapper”) is currently the Director of National Security and

      conducts his duties as the Director of National Security in Washington, D.C.

29.   Defendant John O. Brennan ("Brennan") is currently the Director of the Central

      Intelligence Agency and conducts his duties in Washington, D.C.

30.   Defendant James Comey ("Comey") is currently the Director of the Federal Bureau of

      Investigation and conducts his duties in Washington, D.C.

31.   Defendant National Security Agency ("NSA") is an intelligence agency of the U.S.

      Department of Defense and conducts its duties in Washington, D.C.




                                              12
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page13
                                                                  14ofof39
                                                                         40



32.   Defendant U.S. Department of Justice ("DOJ") is responsible for the enforcement of the

      law and administration of justice, and its headquarters is located in Washington, D.C.,

      where it conducts most of its activities and business.

33.   Defendant Central Intelligence Agency (“CIA”) is responsible for providing national

      security intelligence to senior U.S. policymakers and conducts its duties in Washington,

      D.C.

34.   Defendant Federal Bureau of Investigation (“FBI”) is a governmental agency belonging

      to the U.S. Department of Justice that services as an internal intelligence agency and

      conducts its duties in Washington, D.C.

35.   All of these Defendants, each and every one of them, jointly and severally, acted in

      concert to violate the constitutional privacy rights, free speech, freedom of association,

      due process, and other legal rights of Plaintiffs.

                                JURISDICTION AND VENUE

36.   This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1331

      (Federal Question Jurisdiction).

37.   Jurisdiction and venue are proper pursuant to 28 U.S.C. § 1331, which states in pertinent

      part, “[t]he district courts shall have original jurisdiction of all civil actions arising under

      the Constitution, laws, or treaties of the United States.” At issue here is the

      unconstitutional violation of Plaintiffs' rights under the First, Fourth, and Fifth

      Amendments to the U.S. Constitution.

38.   Supplemental jurisdiction is also proper under 28 U.S.C. § 1367, which states in pertinent

      part, “ . . . in any civil action of which the district courts have original jurisdiction, the

      district courts shall have supplemental jurisdiction over all other claims that are so related




                                                 13
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page14
                                                                  15ofof39
                                                                         40



      to claims in the action within such original jurisdiction that they form part of the same

      case or controversy under Article III of the U.S. Constitution.”

39.   Plaintiffs are informed, believe and thereon allege that, based on the places of business of

      the Defendants and/or on the national reach of Defendants, a substantial part of the events

      giving rise to the claims herein alleged occurred in this district and that Defendants

      and/or agents of Defendants may be found in this district.

                                         STANDING

40.   Plaintiffs bring this action because they have been directly affected, victimized, and

      severely damaged by the unlawful conduct complained herein. Their injuries are

      proximately related to the egregious, illegal, unconstitutional and indeed criminal acts of

      Defendants Obama, Holder, Alexander, Comey, Brennan, Vinson, Clapper, FBI, CIA,

      DOJ and NSA, each and every one of them, jointly and severely, acting in their personal

      and official capacities.

                                 STATEMENT OF FACTS

41.   Defendants, through the NSA and CIA, and with the participation of certain

      telecommunications and Internet companies, have conducted surveillance and

      intelligence-gathering programs that collect certain data about the telephone and Internet

      activity of American citizens within the United States. In fact, the NSA began a classified

      surveillance program, known as “PRISM,” used to intercept telephonic and Internet

      communications of persons inside the United States and overseas.

42.   As recently discovered, on June 5, 2013, The Guardian reported the first of several

      “leaks” of classified material from Edward Snowden, a former NSA contract employee

      who has revealed – and continues to reveal—multiple U.S. Government intelligence




                                               14
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page15
                                                                  16ofof39
                                                                         40



      collection and surveillance programs. Specifically, The Guardian published an article

      entitled, "NSA collecting phone records of millions of Verizon customers daily.

      Exclusive: Top secret court order requiring Verizon to hand over all call data shows scale

      of domestic surveillance under Obama." Pursuant to this top-secret order, issued by Judge

      Roger Vinson, the Government, on the orders and authorization of the President, the

      Attorney General, the DOJ, and the NSA, obtained a highly classified order directing

      Verizon to turn over the telephone records of over one hundred million Americans to the

      NSA on an ongoing daily basis.

43.   Specifically, Defendant Vinson ordered access to electronic copies of the following

      tangible things: all call detail records or "telephony metadata" created by Verizon for

      communications (i) between the United States and abroad; or (ii) wholly within the

      United States, including local telephone calls. Telephony metadata includes

      comprehensive communications routing information, including but not limited to session

      identifying information (e.g. originating and terminating telephone number, International

      Mobile Subscriber Identity (IMSI) number, International Mobile station Equipment

      Identity (IMEI) number, etc.) trunk identifier, telephone calling card numbers, and time

      and duration of call. Defendant Vinson’s Order further required Verizon to turn over

      originating and terminating telephone numbers as well as the location, time, and duration

      of the calls. In essence, the Order gives the NSA blanket access to the records of over one

      hundred million of Verizon customers’ domestic and foreign phone calls made between

      April 25, 2013, when the Order was signed, and July 19, 2013, when the Order is

      supposed to, on its face, expire.




                                              15
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page16
                                                                  17ofof39
                                                                         40



44.   Based on knowledge and belief, this Order issued by Defendant Vinson is the broadest

      surveillance order to ever have been issued; it requires no level of reasonable suspicion or

      probable cause and incredibly applies to all Verizon subscribers and users anywhere in

      the United States and overseas.

45.   Defendant Vinson's Order shows for the first time that, under Defendant Obama's

      administration, the communication records of over one hundred million of U.S. citizens

      are being collected indiscriminately and in bulk - regardless of whether there is

      reasonable suspicion or any “probable cause” of any wrongdoing.

46.   Since June 5, 2013, Defendants have been widely condemned by American citizens

      regarding their failure to uphold the U.S. Constitution and intentionally violating the

      fundamental rights of Plaintiffs and over one hundred million of other Americans,

      particularly as new information comes to light regarding the Defendants' countless

      surveillance programs and intrusive overreaching tactics. As just one example, Senator

      Rand Paul called the surveillance of Verizon phone records "an astounding assault on the

      Constitution," calling for a class action lawsuit.

47.   Such schemes by the Defendants have subjected untold numbers of innocent people to

      the constant surveillance of government agents. As Jameel Jaffer, the ACLU’s deputy

      legal director, stated, “It is beyond Orwellian, and it provides further evidence of the

      extent to which basic democratic rights are being surrendered in secret to the demands of

      unaccountable intelligence agencies.” Recently the Court agreed, calling the Defendants'

      programs "almost Orwellian" and stating that the Court "cannot imagine a more

      ‘indiscriminate’ and ‘arbitrary invasion’ than this systematic and high-tech collection and




                                                16
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page17
                                                                  18ofof39
                                                                         40



      retention of personal data on virtually every single citizen for purposes of querying it and

      analyzing it without judicial approval.”

48.   To date, Defendants have not issued substantive and meaningful explanations to the

      American people describing what has occurred. Rather, on information and belief, the

      NSA, under the authorization of President Obama, continues to engage in a systematic

      program of warrantless eavesdropping upon phone, e-mail, Internet, and social media

      communications of hundreds of millions of individuals, including American citizens and

      permanent legal residents, both within and outside of the United States. The NSA

      surveillance program collects not only the identities of people's communications with the

      targets of surveillance, but also the contents of those communications.

49.   Such intrusive and illegal surveillance has directly impacted each and every Plaintiff. The

      revelation that the Defendants have been carrying on widespread warrantless interception

      of electronic communications has impaired Plaintiffs’ abilities to communicate via

      telephone, e-mail, social media and otherwise on the Internet, out of fear that their

      confidential, private, and often privileged communications are being and will be

      overheard by the NSA’s surveillance program.

50.   The risk and knowledge that Plaintiffs’ telephonic, Internet and social media

      conversations may be overheard, undoubtedly chills speech, in violation of Plaintiffs’

      First Amendment rights.

51.   It was disclosed on August 12, 2015 by Charlie Savage of The New York Times that

      Verizon Wireless, as this Court had already ruled in its Order of December 16, 2013, at

      all material times was conducting and continuing to conduct unconstitutional and illegal

      dragnet “almost-Orwellian” surveillance on Plaintiffs and millions of other American




                                                 17
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page18
                                                                  19ofof39
                                                                         40



      citizens. See Exhibit 1, which is a Government document evidencing this, incorporated

      herein by reference, and see Exhibit 2, the New York Times article.

52.   The Government Defendants withheld this document, dated August 2, 2010 – for five

      years– and caused the U.S. Court of Appeals for the District of Columbia Circuit to issue

      a decision based on an incomplete and false record. The Government Defendants and

      their counsel had a duty to supplement the record and failed to do so in contravention of

      the rules of professional responsibility and in violation of 18 U.S.C. § 1001, as the

      omission was intentional, among other violations of law.

53.   In addition, the Government Defendants misled this Court and the U.S. Court of Appeals

      for the District of Columbia Circuit by playing a shell-game whereby they falsely

      represented that they ceased accessing Internet metadata and other data through Section

      215 in 2011, when it is now apparent and has been revealed based on Clapper’s

      admissions to Senator Ron Wyden that they simply moved, at all material times, this

      unconstitutional metadata collection violation of the Fourth, First and Fifth Amendment

      rights over to their continuing PRISM program under Section 702. See Exhibits  and,

      incorporated herein by reference.

54.   The Government Defendants, through the use of the continuing PRISM and

      MUSCULAR programs, illegally and unconstitutionally surveilled each of the Plaintiffs’

      telephone, Internet and social media communications.

                            FIRST CLAIM FOR RELIEF
                             Fifth Amendment Violation
           Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey,
                          Brennan, FBI, CIA, DOJ and NSA
         (Bivens v. VI Unknown Named Agents of Federal Bureau of Narcotics)




                                               18
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page19
                                                                  20ofof39
                                                                         40



55.   Plaintiffs repeat and reallege all of the previous allegations in paragraphs 1 through 54 of

      this Third Amended Complaint with the same force and affect, as if fully set forth herein

      again at length.

56.   Plaintiffs enjoy a liberty interest in their personal security and in being free from the

      Defendants’ use of unnecessary and excessive force or intrusion against his person.

57.   Plaintiffs enjoy a liberty of not being deprived of life without due process of law, as

      guaranteed by the Fifth Amendment to the U.S. Constitution.

58.   Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey, Brennan, FBI, CIA,

      DOJ and NSA violated Plaintiffs' constitutional rights when they authorized broad and

      intrusive collections of records of individuals through the PRISM and MUSCULAR

      surveillance programs, thereby giving Defendants authority to obtain telephone and

      Internet data for a specified amount of time.

59.   By reason of the wrongful conduct of the Defendants, each and every one of them, jointly

      and severally, Plaintiffs suffered and continue to suffer from severe emotional distress

      and physical harm, pecuniary and economic damage, loss of services, and loss of society

      accordingly.

60.   These violations are compensable under Bivens v. VI Unknown Named Agents of Federal

      Bureau of Narcotics, 403 U.S. 388 (1971). As a direct and proximate result of the

      intentional and willful actions of Defendants Obama, Holder, Alexander, Vinson,

      Clapper, Comey, Brennan, FBI, CIA, DOJ and NSA, Plaintiffs demand judgment be

      entered against Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey,

      Brennan, FBI, CIA, DOJ and NSA, each and every one of them, jointly and severally,

      including an award of compensatory and actual damages, punitive damages, equitable




                                                19
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page20
                                                                  21ofof39
                                                                         40



      relief, reasonable attorneys fees, pre-judgment interest, post-interest and costs, and an

      award in an amount in excess of $20 billion U.S. dollars, and such other relief as the

      Court may deem just and proper. Plaintiffs declaratory and injunctive and other equitable

      relief against all of Defendants as set forth below.

                           SECOND CLAIM FOR RELIEF
                             First Amendment Violation
           Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey,
                          Brennan, FBI, CIA, DOJ and NSA
         (Bivens v. VI Unknown Named Agents of Federal Bureau of Narcotics)

61.   Plaintiffs repeat and reallege all of the previous allegations in paragraphs 1 through 60 of

      this Third Amended Complaint with the same force and affect, as if fully set forth herein

      again at length.

62.   Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey, Brennan, FBI, CIA,

      DOJ and NSA, acting in their official capacity and personally, abridged and violated

      Plaintiffs’ First Amendment right of freedom of speech and association by significantly

      minimizing and chilling Plaintiffs’ freedom of expression and association.

63.   Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey, Brennan, FBI, CIA,

      DOJ and NSA’s acts chill, if not “kill,” speech by instilling in Plaintiffs and over a

      hundred million of Americans the fear that their personal and business conversations with

      other U.S. citizens and foreigners are in effect surveilled, tapped, and illegally surveyed.

64.   In addition, Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey, Brennan,

      FBI, CIA, DOJ and NSA, acting in their official capacity and personally, violated

      Plaintiffs’ right of freedom of association by making them and others weary and fearful

      of contacting other persons and entities via cell phones, the Internet, or through social

      media out of fear of the misuse of government power and retaliation against these persons



                                               20
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page21
                                                                  22ofof39
                                                                         40



      and entities who challenge the gross misuse of government power which amounts to an

      almost Orwellian police state.

65.   By reason of the wrongful conduct of these Defendants, Plaintiffs suffered and continue

      to suffer from severe emotional distress and physical harm, pecuniary and economic

      damage, loss of services, and loss of society accordingly.

66.   These violations are compensable under Bivens v. VI Unknown Named Agents of Federal

      Bureau of Narcotics, 403 U.S. 388 (1971).

67.   As a direct and proximate result of the intentional and willful actions of Defendants

      Obama, Holder, Alexander, Vinson, Clapper, Comey, Brennan, FBI, CIA, DOJ and NSA,

      Plaintiffs demand that judgment be entered against Defendants Obama, Holder,

      Alexander, Vinson, Clapper, Comey, Brennan, FBI, CIA, DOJ and NSA, each and every

      one of them, jointly and severally, including an award of compensatory and actual

      damages, punitive damages, equitable relief, reasonable attorneys fees, pre-judgment

      interest, post-interest and costs, and an award in an amount in excess of $20 billion U.S.

      dollars and such other relief as the Court may deem just and proper.

                            THIRD CLAIM FOR RELIEF
                            Fourth Amendment Violation
           Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey,
                          Brennan, FBI, CIA, DOJ and NSA
         (Bivens v. VI Unknown Named Agents of Federal Bureau of Narcotics)

68.   Plaintiffs repeat and reallege all of the previous allegations in paragraphs 1 through 67 of

      this Complaint with the same force and affect, as if fully set forth herein again at length.

69.   The Fourth Amendment provides in pertinent part that people have a right to be secure in

      their persons against unreasonable searches and seizures, that warrants shall not be issued




                                               21
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page22
                                                                  23ofof39
                                                                         40



      but upon probable cause, and that the place of search must be described with

      particularity.

70.   Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey, Brennan, FBI, CIA,

      DOJ and NSA, acting in their official capacities and personally, violated the Fourth

      Amendment to the U.S. Constitution when they unreasonably searched and seized and

      continue to search Plaintiffs’ phone records, e-mails, Internet, social media and electronic

      communications without reasonable suspicion or probable cause.

71.   Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey, Brennan, FBI, CIA,

      DOJ and NSA, acting in their official capacity and personally, violated the Fourth

      Amendment to the U.S. Constitution by not describing with particularity the place to be

      searched or the person or things to be seized.

72.   In fact, the blanket and vastly overbroad surveillance program by the NSA, acting on

      behalf of the federal government and therefore Defendant Obama, as he is the chief

      executive of the federal government, as well as the other Defendants, does not state with

      any particularity who and what may be searched.

73.   The collection and production of the phone, e-mail, Internet, and social media records

      allows Defendants including the FBI, CIA, and NSA to easily and indiscriminately build

      a comprehensive picture and profile of any individual contacted, how and when he or she

      was contacted, and possibly from where, retrospectively and into the future.

74.   By reason of the wrongful conduct of Defendants Obama, Holder, Alexander, Vinson,

      Clapper, Comey, Brennan, FBI, CIA, DOJ and NSA, Plaintiffs suffered and continue to

      suffer from severe emotional distress and physical harm, pecuniary and economic

      damage, loss of services, and loss of society accordingly.




                                               22
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page23
                                                                  24ofof39
                                                                         40



75.   These violations are compensable under Bivens v. VI Unknown Named Agents of Federal

      Bureau of Narcotics, 403 U.S. 388 (1971). As a direct and proximate result of the

      intentional and willful actions of Defendants Obama, Holder, Alexander, Vinson,

      Clapper, Comey, Brennan, FBI, CIA, DOJ and NSA, Plaintiffs demand judgment be

      entered against Defendants Obama, Holder, Alexander, Vinson, Clapper, Comey,

      Brennan, FBI, CIA, DOJ and NSA each and every one of them, jointly and severally,

      including an award of compensatory and actual damages, punitive damages, equitable

      relief, reasonable attorneys fees, pre-judgment interest, post-interest and costs, and an

      award in an amount in excess of $20 billion U.S. dollars and such other relief as the

      Court may deem just and proper.

                                   PRAYER FOR RELIEF

76.   Plaintiffs demand that judgment be entered against Defendants, each and every one of

      them, jointly and severally, for compensatory and actual damages because of Defendants’

      illegal actions causing this demonstrable injury to Plaintiffs, punitive damages because of

      Defendants’ callous, reckless indifference and malicious acts, and attorneys fees and

      costs in an amount in excess of $20 billion U.S. dollars and such other relief the Court

      may deem just and proper.

77.   Plaintiffs demand declaratory, equitable and injunctive relief for their injuries in the

      following ways: (1) a cease and desist order to prohibit this type of illegal and criminal

      activity against Plaintiffs and other U.S. citizens from occurring now and in the future;

      (2) that all Plaintiffs’ phone, e-mail, Internet, and social media records and

      communication records, whether telephonic, Internet, social media or electronic, be

      returned to the provider and expunged from federal government records; and (3) a full




                                               23
       Case1:13-cv-00881-RJL
      Case  1:13-cv-00881-RJL Document
                               Document106-1
                                        112 Filed
                                             Filed02/11/16
                                                   09/08/15 Page
                                                             Page24
                                                                  25ofof39
                                                                         40



       disclosure and a complete accounting of what each Defendant as a whole has done and

       allowed the DOJ, CIA, FBI, and NSA to do; and (4) that this Court retain jurisdiction to

       implement an effective judicial monitoring mechanism to insure that the Defendants do

       not egregiously continue, after they are enjoined, to violate the constitutional rights of

       the Plaintiffs and all Americans in the future, particularly since the Foreign Surveillance

       Intelligence Court, through judges such as Defendant Vinson, has colluded or acquiesced

       with Defendants in their unlawful conduct. Defendants cannot, given their documented

       pattern of lying under oath, deceit and unlawful unconstitutional conduct, be left on their

       own, without court supervision, to obey the law.

                                        JURY DEMAND

Plaintiffs respectfully demand a jury trial on all issues so triable.

Dated: September 8, 2015

                                                 Respectfully submitted,


                                                 /s/ Larry Klayman
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                                                 Attorney for Plaintiffs




                                                24
 Case1:13-cv-00881-RJL
Case  1:13-cv-00881-RJL Document
                         Document106-1
                                  112 Filed
                                       Filed02/11/16
                                             09/08/15 Page
                                                       Page25
                                                            26ofof39
                                                                   40




                   Exhibit 1
Case
 Case1:13-cv-00881-RJL
      1:13-cv-00881-RJL Document
                         Document106-1 Filed02/11/16
                                  112 Filed  09/08/15 Page
                                                       Page26
                                                            27ofof39
                                                                   40
           Case 1:13-cv-00881-RJL Document 106-1 Filed 09/08/15 Page 28 of 40
Case 1:13-cv-00881-RJL Document 112 Filed 02/11/16 Page 27 of 39
 Case1:13-cv-00881-RJL
Case  1:13-cv-00881-RJL Document
                         Document106-1
                                  112 Filed
                                       Filed02/11/16
                                             09/08/15 Page
                                                       Page28
                                                            29ofof39
                                                                   40




                   Exhibit 2
9/8/2015              Case1:13-cv-00881-RJL
                     Case  1:13-cv-00881-RJL         Document
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                                  N.S.A. Used Phone Records         112
                                                            Program106-1
                                                                   to        Filed
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                                                                      Seek Iran      02/11/16
                                                                                           - The New Page
                                                                                       09/08/15
                                                                                Operatives            Page
                                                                                                     York    29
                                                                                                              30ofof39
                                                                                                          Times      40




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  U.S.



  N.S.A. Used Phone Records Program to
  Seek Iran Operatives
  By CHARLIE SAVAGE                    AUG. 12, 2015

             WASHINGTON — The National Security Agency has used its bulk domestic
             phone records program to search for operatives from the government of Iran
             and “associated terrorist organizations” — not just Al Qaeda and its allies —
             according to a document obtained by The New York Times.

                    The document also shows that a February 2010 order from the Foreign
             Intelligence Surveillance Court for the program listed AT&T and Sprint as
             involved in it. A leaked 2013 court order for the program was addressed only
             to a Verizon subsidiary.

                    The inclusion of Iran and allied terrorist groups — presumably the Shiite
             group Hezbollah — and the confirmation of the names of other participating
             companies add new details to public understanding of the once-secret
             program. The Bush administration created the program to try to find hidden
             terrorist cells on domestic soil after the attacks of Sept. 11, 2001, and
             government officials have justified it by using Al Qaeda as an example.

                    The disclosure of the new details comes at a time of debates over a
             proposed agreement to drop sanctions against Iran in exchange for curbs on
             its nuclear program, and about N.S.A. surveillance and the role of American
             communications companies.



http://www.nytimes.com/2015/08/13/us/nsa-used-phone-records-program-to-seek-iran-operatives.html                          1/5
9/8/2015              Case1:13-cv-00881-RJL
                     Case  1:13-cv-00881-RJL         Document
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                                  N.S.A. Used Phone Records         112
                                                            Program106-1
                                                                   to        Filed
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                                                                      Seek Iran      02/11/16
                                                                                           - The New Page
                                                                                       09/08/15
                                                                                Operatives            Page
                                                                                                     York    30
                                                                                                              31ofof39
                                                                                                          Times      40



                     In June, Congress enacted a law that will ban the systematic collection of
             domestic phone records after November, and create a replacement program
             for analyzing links between callers in search of associates of terrorism suspects
             without the government’s keeping the bulk data.

                     The document disclosing new information about the program is an August
             2010 letter from the Justice Department to Judge John Bates, then the
             presiding judge of the intelligence court. It was included in about 350 pages of
             N.S.A. inspector general reports about the program the government provided
             to The Times late on Tuesday in response to a Freedom of Information Act
             suit.

                     The letter, which alerted Judge Bates to an incident in which a court-
             imposed rule for the program had been violated, contained information the
             government usually redacts when declassifying such documents: the full name
             of the intelligence court order in place for the program at the time, which
             included the listing of Iran and the names of the companies. The release of the
             uncensored version of the letter was apparently a mistake.

                     The N.S.A. did not respond to a request for comment.

                     President George W. Bush originally directed the N.S.A. to begin
             systematically collecting Americans’ calling records in bulk based on a
             unilateral assertion of executive power. In 2006, the Justice Department
             persuaded the intelligence court to bless the program. It began issuing orders
             to phone companies to turn over their customers’ calling records.

                     Its orders were based on a secret interpretation of a provision of the
             U.S.A. Patriot Act, known as Section 215, which permits the F.B.I. to obtain
             business records deemed “relevant” to a national security investigation.

                     The theory, accepted by the intelligence court but rejected in a recent
             appeals court ruling, is that everyone’s records are relevant to investigations
             hunting for terrorists because analyzing indirect links between callers can, in



http://www.nytimes.com/2015/08/13/us/nsa-used-phone-records-program-to-seek-iran-operatives.html                          2/5
9/8/2015              Case1:13-cv-00881-RJL
                     Case  1:13-cv-00881-RJL         Document
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                                  N.S.A. Used Phone Records         112
                                                            Program106-1
                                                                   to        Filed
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                                                                      Seek Iran      02/11/16
                                                                                           - The New Page
                                                                                       09/08/15
                                                                                Operatives            Page
                                                                                                     York    31
                                                                                                              32ofof39
                                                                                                          Times      40



             theory, reveal hidden relationships and sleeper cells.

                    After praising the program as crucial to preventing terrorist attacks,
             intelligence agency officials now say that it has never thwarted one. But the
             program’s proponents argue that it is still a useful investigative tool.

                    The program became public in June 2013 after Edward J. Snowden, a
             former N.S.A. contractor, disclosed a trove of the agency’s classified
             documents. The first of those published was the 2013 intelligence court order
             to a Verizon subsidiary requiring it to turn over all its customers’ calling
             records.

                    Although the Obama administration declassified the existence of the bulk
             phone records program, it has declined to confirm which other phone
             companies participated in it and which groups it could be used to search for.

                    The letter does not make clear how often the N.S.A. has used the program
             to search for Iran or Iranian-linked terrorist organizations. It also says nothing
             further about the companies listed in the case name.

                    There has been wide speculation that AT&T, which maintains a large
             database of calling records, was a participant in the program. And last year,
             when the government declassified documents about an aborted challenge to
             the program by a phone company in late 2009, it redacted the firm’s name, but
             officials said it was Sprint.

                    The Justice Department letter confirms that both of those companies have
             been participants.

                    But the document also contained a surprise. In addition to listing
             subsidiaries of Verizon Communications, the document lists Verizon Wireless,
             which was then a partnership with the British firm Vodafone.

                    The inclusion of Verizon Wireless was striking. In June 2013, The Wall
             Street Journal reported that Verizon Wireless and T-Mobile had not been part



http://www.nytimes.com/2015/08/13/us/nsa-used-phone-records-program-to-seek-iran-operatives.html                          3/5
9/8/2015              Case1:13-cv-00881-RJL
                     Case  1:13-cv-00881-RJL         Document
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                                  N.S.A. Used Phone Records         112
                                                            Program106-1
                                                                   to        Filed
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                                                                      Seek Iran      02/11/16
                                                                                           - The New Page
                                                                                       09/08/15
                                                                                Operatives            Page
                                                                                                     York    32
                                                                                                              33ofof39
                                                                                                          Times      40



             of the classified program because of their foreign ownership stakes. In 2014,
             The Journal, The Washington Post and The Times each reported, citing
             intelligence officials, that for technical reasons, the program consisted mostly
             of landline phone records.

                    However, it is not clear whether the inclusion of Verizon Wireless in the
             name of the court order means it was turning over customer records after all.

                    Ed McFadden, a Verizon spokesman, said he was not permitted to say
             whether that was the case. But he said that as a general matter, it has been the
             government’s practice to use broad language covering all of Verizon’s entities
             in headings of such court orders because it has a complex corporate structure,
             regardless of whether any specific part was required to provide information
             under that order.

                    Most of the inspector general reports, unlike the letter, contained
             redactions. They showed that the inspector general in 2006, shortly after the
             pre-existing program came under the intelligence court’s rules, called for
             greater procedural safeguards to make sure that the new rules were followed.

                    There were no reports included in the documents from 2007 to 2009,
             when it came to light internally that the N.S.A. had been accessing the call
             records in a way that systematically violated the court’s rules. In late 2009, the
             intelligence court stopped letting the N.S.A. access the bulk data for
             operational purposes while it built a new system and tested it. There were
             many reports from 2010 and 2011, when the court ordered the inspector
             general to conduct a series of audits.

                    One document also reveals a new nugget that fills in a timeline about
             surveillance: a key date for a companion N.S.A. program that collected records
             about Americans’ emails and other Internet communications in bulk. The
             N.S.A. ended that program in 2011 and declassified its existence after the
             Snowden disclosures.




http://www.nytimes.com/2015/08/13/us/nsa-used-phone-records-program-to-seek-iran-operatives.html                          4/5
9/8/2015              Case1:13-cv-00881-RJL
                     Case  1:13-cv-00881-RJL         Document
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                                  N.S.A. Used Phone Records         112
                                                            Program106-1
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                                                                                           - The New Page
                                                                                       09/08/15
                                                                                Operatives            Page
                                                                                                     York    33
                                                                                                              34ofof39
                                                                                                          Times      40



                    In 2009, the N.S.A. realized that there were problems with the Internet
             records program as well and turned it off. It then later obtained Judge Bates’s
             permission to turn it back on and expand it.

                    When the government declassified his ruling permitting the program to
             resume, the date was redacted. The report says it happened in July 2010.

             A version of this article appears in print on August 13, 2015, on page A14 of the New York edition
             with the headline: N.S.A. Used Phone Data to Seek Iran Operatives.




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http://www.nytimes.com/2015/08/13/us/nsa-used-phone-records-program-to-seek-iran-operatives.html                          5/5
 Case1:13-cv-00881-RJL
Case  1:13-cv-00881-RJL Document
                         Document106-1
                                  112 Filed
                                       Filed02/11/16
                                             09/08/15 Page
                                                       Page34
                                                            35ofof39
                                                                   40




                   Exhibit 
 Case1:13-cv-00881-RJL
Case  1:13-cv-00881-RJL Document
                         Document106-1
                                  112 Filed
                                       Filed02/11/16
                                             09/08/15 Page
                                                       Page35
                                                            36ofof39
                                                                   40
 Case1:13-cv-00881-RJL
Case  1:13-cv-00881-RJL Document
                         Document106-1
                                  112 Filed
                                       Filed02/11/16
                                             09/08/15 Page
                                                       Page36
                                                            37ofof39
                                                                   40




                   Exhibit 
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                       Case1:13-cv-00881-RJL
                            1:13-cv-00881-RJL         to Wrongdoing—What
                                                Document       112 Filed  Now? - Reason.comPage 37 of 39
4/14/2014             Case                    Document        106-1   Filed02/11/16
                                                                             09/08/15 Page 38 of 40




    NSA Admits to Wrongdoing—What Now?
    Andrew Napolitano | Apr. 10, 2014 7:00 am

                                                                                    Last week, Director of National Intelligence
                                                                                    James R. Clapper sent a brief letter to Sen.
                                                                                    Ron Wyden (D-Ore.), a member of the Senate
                                                                                    Intelligence Committee, in which he admitted
                                                                                    that agents of the National Security Agency
                                                                                    (NSA) have been reading innocent Americans'
                                                                                    emails and text messages and listening to
                                                                                    digital recordings of their telephone
                                                                                    conversations that have been stored in NSA
                                                                                    computers, without warrants obtained
    Pete Souza/White House
                                                                                    pursuant to the Constitution. That the NSA is
                                                                                    doing this is not newsworthy—Edward
    Snowden has told the world of this during the past 10 months. What is newsworthy is that the
    NSA has admitted this, and those admissions have far-reaching consequences.

    Since the Snowden revelations first came to light last June, the NSA has steadfastly denied
    them. Clapper has denied them. The recently retired head of the NSA, Gen. Keith Alexander,
    has denied them. Even President Obama has stated repeatedly words to the effect that "no
    one is reading your emails or listening to your phone calls."

    The official NSA line on this has been that the Foreign Intelligence Surveillance Act (FISA)
    court has issued general warrants for huge amounts of metadata only, but not content.
    Metadata consists of identifying markers on emails, text messages, and telephone calls. These
    markers usually identify the computer from which an email or text was sent or received, and
    the time and date of the transmission, as well as the location of each computer. Telephone
    metadata is similar. It consists of the telephone numbers used by the callers, the time, date,
    and duration of the call, and the location of each telephone used in the call.

    American telecommunications and Internet service providers have given this information to
    the NSA pursuant to warrants issued by secret FISA court judges. These warrants are
    profoundly unconstitutional, as they constitute general warrants. General warrants are not

http://reason.com/archives/2014/04/10/nsa-james-clapper-admit-to-wrongdoing/print                                                   1/3
4/14/2014             Case1:13-cv-00881-RJL
                      Case  1:13-cv-00881-RJL   Document
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                                                                         Filed               Page
                                                                                  - Reason.com
                                                                               09/08/15       Page38
                                                                                                   39ofof39
                                                                                                          40
    obtained by presenting probable cause of crime to judges and identifying the person from
    whom data is to be seized, as the Constitution requires. Rather, general warrants authorize a
    government agent to obtain whatever he wants from whomever he wants it.

    These general warrants came about through a circuitous route of presidential, congressional,
    and judicial infidelity to the Constitution during the past 35 years. The standard that the
    government must meet to obtain a warrant from a FISA court judge repeatedly has been
    lessened from the constitutional requirement of probable cause of crime, to probable cause of
    being a foreign agent, to probable cause of being a foreign person, to probable cause of talking
    to a foreign person. From this last category, it was a short jump for NSA lawyers to persuade
    FISA court judges that they should sign general warrants for all communications of everyone
    in America because the NSA was not accessing the content of these communications; it was
    merely storing metadata and then using algorithms to determine who was talking to whom.

    This was all done in secret—so secret that the president would lie about it; so secret that
    Congress, which supposedly authorized it, was unaware of it; and so secret that the FISA
    court judges themselves do not have access to their own court records (only the NSA does).

    It was to further this public facade that Clapper lied to the Senate Intelligence Committee last
    year when he replied to a question from Sen. Wyden about whether the NSA was collecting
    massive amounts of data on hundreds of millions of Americans by saying, "No" and then
    adding, "Not wittingly." The stated caveat in the NSA facade was a claim that if its agents
    wanted to review the content of any data the NSA was storing, they identified that data and
    sought a warrant for it.

    This second round of warrants is as unconstitutional as the first round because these
    warrants, too, are based on NSA whims, not probable cause of crime. Yet, it is this second
    round of warrants that Clapper's letter revealed did not always exist.

    Snowden, in an act of great personal sacrifice and historic moral courage, directly refuted
    Clapper by telling reporters that the NSA possessed not just metadata but also content—
    meaning the actual emails, text messages, and recordings of telephone calls. He later revealed
    that the NSA also has the content of the telephone bills, bank statements, utility bills, and
    credit card bills of everyone in America.

    In his letter to Wyden last week, Clapper not only implicitly acknowledged that Snowden was
    correct all along, but also that he, Clapper, lied to and materially misled the Senate
    Intelligence Committee, and that the NSA is in fact reading emails and listening to phone calls
    without obtaining the second warrant it has been claiming it obtains.
http://reason.com/archives/2014/04/10/nsa-james-clapper-admit-to-wrongdoing/print                              2/3
4/14/2014                                  NSA Admits to WronJGoing—What Now? - Reason.com
                       Case1:13-cv-00881-RJL
                      Case  1:13-cv-00881-RJL   Document106-1
                                              Document         112 Filed
                                                                      Filed02/11/16
                                                                             09/08/15 Page  Page39
                                                                                                 40ofof39
                                                                                                        40
    One wonders whether Obama was duped by Clapper when he denied all this, or whether he
    just lied to the American people as he has done in the past.

    One also wonders how the government could do all this with a straight face. This is the same
    government that unsuccessfully prosecuted former New York Yankees pitcher Roger
    Clemens twice for lying to a congressional committee about the contents of his urine. Shouldn't
    we expect that Clapper be prosecuted for lying to a congressional committee about the most
    massive government plot in U.S. history to violate the Fourth Amendment? Don't hold your
    breath; the president will protect his man.

    Yet, Congress could address this independent of a president who declines to prosecute his
    fellow liars. Congress could impeach Clapper, and the president would be powerless to prevent
    that. If Congress does that, it would be a great step forward for the rule of law and fidelity to
    the Constitution. If Congress does nothing, we can safely conclude that it is complicit in these
    constitutional violations.

    If Congress will not impeach an officer of the government when it itself is the victim of his
    crimes because it fears the political consequences, does it still believe in the Constitution?




http://reason.com/archives/2014/04/10/nsa-james-clapper-admit-to-wrongdoing/print                            3/3
